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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   RICCARDO USAI, MASSIMILIANO GIUA,
   IRINA SLIZSKAYA, and MEYVIS VEGA,

                 Plaintiffs,                                  CASE NO.: 1:24-cv-24830-KMM

   v.

   CLUB MANAGEMENT MIAMI II, LLC., and
   R. DONAHUE PEEBLES,

               Defendants.
   _______________________________________/

        PROPOSED ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
         EXTENSION OF TIME TO RESPOND TO DEFENDANTS’ MOTIONS TO
                   COMPEL ARBITRATION AND TO DISMISS

          THIS CAUSE is before the Court on the parties’ Plaintiffs’ Unopposed Motion for

   Extension of Time to Respond to Defendants’ Motions to Compel Arbitration and to Dismiss [ECF

   No. 16]. The Court, having reviewed the file and being otherwise fully apprised in the premises,

   hereby GRANTS the Motion. Plaintiffs shall have until April 1, 2025, to respond to Defendants'

   Motion to Compel Arbitration of the Claims of Plaintiffs Riccardo Usai and Massimiliano Giua

   [D.E. 13], and Defendants’ Motion to Dismiss and Incorporated Memorandum of Law [D.E. 14].

          DONE AND ORDERED in Chambers in Miami, Florida, on this _____ day of

   _______________, 2025.



                                               ________________________________________
                                               THE HONORABLE K. MICHAEL MOORE
                                               UNITED STATES DISTRICT JUDGE


   Copies Furnished to All Counsel of Record
